USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 1 of 8




             EXHIBIT B
  USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 2 of 8


                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA

EUGENE KAMMER, individually and on behalf )
of other similarly situated employees,    )
Plaintiff,                                )
                                          )
v.                                        )                  Case No. 2:21-cv-00083
                                          )
CET INCORPORATED,                         )
Defendant.


                        DECLARATION OF DOUGLAS M. WERMAN

       I, Douglas M. Werman, declare as follows:

       1.      I am a member in good standing of the Illinois State Bar and am the managing

 shareholder of Werman Salas P.C.

       2.      I am familiar with the facts and circumstances of this action. I submit this

declaration in support of Plaintiffs’ Motion for Court Approval of Settlement Agreements and

Dismissal.

My Background and Experience

       3.      I graduated from Loyola University of Chicago’s School of Law in 1990. I received

my undergraduate degree from the University of Illinois, Champaign-Urbana, in 1987. I was

admitted to practice law in the State of Illinois in 1990. Since 2001, my practice has been highly

concentrated in representing plaintiffs in collective and class actions arising under state and federal

wage and hour laws.

       4.      I am admitted in the following courts:

                   COURT OF ADMISSION                    DATE OF ADMISSION
                State Admissions
                State of Illinois                       11/08/1990
                U.S. District Courts
                Northern District of Illinois           12/20/1990

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  USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 3 of 8


                Western District of Michigan           6/24/1999
                Central District of Illinois           3/30/2001
                Eastern District of Michigan           3/25/2003
                Southern District of Illinois          4/08/2010
                Northern District of Indiana           10/25/2010
                Western District of New York           7/22/2015
                Federal Claims Court                   8/13/2015
                Southern District of Indiana           11/5/2015
                Eastern District of Arkansas           12/4/2015
                District of Colorado                   6/6/2017
                U.S. Circuit Courts
                Seventh Circuit Court of Appeals       8/4/1994
                Second Circuit Court of Appeals        11/21/2013
                Eleventh Circuit Court of Appeals      5/6/2015
                Tenth Circuit Court of Appeals         4/21/2016
                Ninth Circuit Court of Appeals         5/20/2016

       5.      I have been lead counsel in over seven hundred fifty (750) collective and class

action cases filed in the state and federal courts. Some of these cases include:

   •   Ortiz v. Manpower, Inc., No. 12 C 5248 (N.D. Ill. August 21, 2012) (class action for
       unpaid wages certified under F.R.C.P. 23 for over 85,000 employees);

   •   Arrez v. Kelly Services, Inc., No. 07 C 1289 (N.D. Ill.) (class action for unpaid wages
       certified under F.R.C.P. 23 for over 95,000 employees);

   •   Polk v. Adecco, No. 06 CH 13405 (Cook County, Ill.) (class action for unpaid wages
       certified under Illinois law for over 36,000 employees);

   •   Robbins v. Blazin Wings, Inc., No. 15-CV-6340 CJS, 2016 WL 1068201, at *1
       (W.D.N.Y. Mar. 18, 2016) (FLSA certification of a collective of 62,000 tipped
       employees);

   •   Martignago, et al v. Merrill Lynch & Co., Inc., Case No. 11-cv-03923-PGG (multi-state
       class action certified for over 10,000 employees);

   •   Garcia v. JC Penney Corp., Inc., No. 12-CV-3687, 2016 WL 878203 (N.D. Ill. Mar. 8,
       2016) (class action for owed pay for over 36,000 employees);

   •   Haschak v. Fox & Hound Rest. Grp., No. 10 C 8023, 2012 U.S. Dist. 162476, at * 2
       (N.D. Ill. Nov. 14, 2012) (F.R.C.P. 23 class certification for over 6,000 employees);

   •   Schaefer v. Walker Bros. Enters., Inc., No. 10 C 6366, 2012 U.S. Dist. LEXIS 65432, at
       *4 (N.D. Ill. May 7, 2012) (F.R.C.P. 23 class certification for Illinois tipped employees);

                                                 2
  USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 4 of 8




   •   Kernats v. Comcast Corp. Inc., Nos. 09 C 3368 and 09 C 4305, 2010 U.S. Dist. LEXIS
       112071 (N.D. Ill. Oct. 20, 2010) (F.R.C.P. 23 class certification granted for over 8,000
       Illinois employees);

   •   Magpayo v. Advocate Health & Hosps. Corp., No. 16-CV-01176, 2018 WL 950093, at
       *1 (N.D. Ill. Feb. 20, 2018) (certifying Illinois state law claims under F.R.C.P. 23);

   •   Driver v. AppleIllinois, LLC, 265 F.R.D. 293, 311 (N.D. Ill. 2010) & Driver, No. 06 C
       6149, 2012 U.S. Dist. LEXIS 27659, at *15 (N.D. Ill. Mar. 2, 2012) (F.R.C.P. 23 class
       certification for 19,000 tipped employees, decertification denied);

   •   Schmidt v. Smith & Wollensky, 268 F.R.D. 323 (N.D. Ill. 2010) (F.R.C.P. 23 class
       certification for Illinois tipped employees);

   •   Hardaway v. Employbridge of Dallas, et al., No. 11 C 3200 (N.D. Ill.); Williams v. Volt,
       No. 10 C 3927 (N.D. Ill.) (IWPCA class action for owed pay for over 15,000 employees);

   •   Rosales v. Randstad, No. 09 C 1706 (N.D. Ill.) (class action certified under F.R.C.P. 23
       for owed pay for over 20,000 employees);

   •   Rusin v. Chicago Tribune, No. 12 C 1135 (N.D. Ill. February 5, 2013);

   •   Peraza v. Dominick’s Finer Foods, LLC, No. 11 C 8390 (N.D. Ill. November 20, 2012);
       and

   •   Cope v. Let’s Eat Out, Inc., 354 F. Supp. 3d 976 (W.D. Mo. 2019) (denying motion to
       decertify F.R.C.P. 23 class action under Missouri law and FLSA collective action).

These and other cases have successfully recovered owed wages, for hundreds of thousands of

individuals.

       6.      Several federal courts have recognized the expertise that my firm and I possess in

collective and class action litigation. For example:




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 USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 5 of 8


   •   “Plaintiffs’ Counsel are known and recognized lawyers in wage and hour litigation and
       have an excellent national reputation in representing tipped employees in this type of
       case. Courts recognize Plaintiffs’ Counsel as leaders in advocating the rights of such
       workers throughout the United States.” Osman, et al. v. Grube, Inc., et al. 2018 WL
       2095172, at *4 (N.D. Ohio May 4, 2018);

   •   Douglas Werman and Werman Salas P.C. are “national leaders in advocating the rights of
       working people in wage and hour litigation” and describing Mr. Werman as a “highly
       respected and experienced lawyer[]…” Sanchez v. Roka Akor Chicago LLC, No. 14 C
       4645, 2017 WL 1425837, at *5-7 (N.D. Ill., Apr. 20, 2017);

   •   Awarding Werman Salas P.C. attorney’s fees and stating that Mr. Werman and his firm
       are “… national leaders in advocating the rights of working people in wage and hour
       litigation. Knox v. Jones Grp., No. 15-CV-1738 SEB-TAB, 2017 WL 3834929, at *5
       (S.D. Ind. Aug. 31, 2017);

   •   Describing Douglas Werman as a “highly experienced attorney” in class actions. Schmidt
       v. Smith & Wollensky, LLC, 268 F.R.D. 323, 328 n.5 (N.D. Ill. 2010) (Castillo, C.J.).
       7.     My published cases exceed 250 decisions and include:

   •   Ervin v. OS Rest. Servs., 632 F.3d 971 (7th Cir. 2011), the leading appellate decision
       addressing the propriety of a combined Rule 23 class action and a FLSA collective action
       under 29 U.S.C. § 216(b);

   •   Marsh v. J. Alexander’s LLC, 869 F.3d 1108 (9th Cir. 2017), on reh’g en banc, 905 F.3d
       610 (9th Cir. 2018) (the successful en banc reversal of a panel decision holding that the
       U.S. Department of Labor’s sub-regulatory guidance that tipped employees are entitled to
       the full minimum wage for time spent in non-tipped occupations was a reasonable choice
       within a legislative gap left open by Congress and should receive Auer deference);

   •   Fast v. Applebee’s Int’l, Inc., 638 F.3d 872 (8th Cir. 2011) cert. denied__ U.S. ___, 181
       L. Ed. 2d 977 (Jan. 17, 2012) (explaining under Section 3(m) of the Fair Labor Standards
       Act what duties a tipped employee may lawfully perform while receiving a tip-credit
       wage rate);

       Roach v. T.L. Cannon Corp., No. 13-3070-CV, 2015 WL 528125 (2d Cir. Feb. 10, 2015).
       (the lead appellate decision addressing the impact of the United States Supreme Court
       decision in Comcast Corp. v. Behrend, ___ U.S. ___, 133 S. Ct. 1426 (2013) on the
       predominance prong of Fed. R. Civ. P. 23(b)(3) in wage and hour class actions).
       8.     I am a frequent speaker and author on class actions. Some examples of my speaking

engagements are:




                                               4
  USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 6 of 8


        National Employment Lawyers                  Strategies for Litigating Mass Individual
        Association, Denver, 2019                    Arbitrations
        Chicago Bar Association, 2018                What’s Hot (and not) in Class Action
                                                     Litigation
        Chicago Bar Association, 2017, Chicago       Settlement Strategies: Mediation and
        Fall Seminar on Wage and Hour                Court Approved Settlements in Wage and
        Litigation                                   Hour Litigation
        National Employment Lawyers                  Co-Counseling & Cooperating with Other
        Association National Convention, Los         Plaintiffs’ Lawyers
        Angeles, 2016
        National Employment Lawyers                  Who is an Employer & Who is an
        Association National Convention, Los         Employee?
        Angeles, 2016
        Federal Bar Association, Chicago             Enforcement and Litigation
        Chapter, Moderator, 2016                     Priorities: EEOC, NLRB, DOL
        National Employment Lawyers                  Settlement Issues in Settling Wage and
        Association National Convention,             Hour Class and Collective Actions
        Washington, D.C., 2015
        American Bar Association, Fair Labor         Litigation Issues in Wage and Hour Class
        Standards Legislation Committee, Puerto      and Collective Actions
        Vallarta, Mexico 2015
        Bridgeport Legal Conferences, Wage and       Settlement of Wage and Hour Class
        Hour Class Action, Chicago, 2015             Actions
        Practicing Law Institute, Chicago, 2013,     FLSA Wage and Hour Update
        2014, 2015
        Chicago Bar Association, Class Litigation    Current Terrain in Class Action Litigation
        Committee, 2011
        Illinois Institute of Continuing Legal       Litigating Class Action Claims
        Education, 2008
        AFL-CIO Lawyers Coordinating                 Arbitrating Wage and Hour Cases
        Committee, 2008

       9.      At the request of Judge Amy St. Eve who sits on the United States Court of Appeals

for the Seventh Circuit, I was 1 of 10 lawyers in the United States (5 lawyers who primarily

represent employees and 5 who primarily represent employers) who in 2017 authored FLSA Initial

Discovery Protocols designed to streamline discovery of such cases in federal courts. See,

https://www.txs.uscourts.gov/sites/txs/files/Final_Initial_Discovery_Protocols_FLSA.pdf.      The

protocols were drafted in conjunction with the Federal Judicial Center (FJC) and the Institute for

the Advancement of the American Legal System.


                                                5
  USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 7 of 8


        10.    I am a member of the Board of Editors of the Leading Treatise on the Fair Labor

Standards Act, entitled, “Kearns, The Fair Labor Standards Act,” Fourth Edition, published by

Bloomberg BNA in conjunction with the American Bar Association Section of Labor and

Employment Law. I am the primary author of Chapter 9, Minimum Wage Requirements, and

Chapter 18 “Settlement of FLSA Litigation” of that treatise.

This Litigation and Settlement

        11.    Plaintiff Kammer filed a Complaint against Defendant on March 4, 2021, alleging

violations of the Fair Labor Standards Act (“FLSA”).

        12.    Jeremiah Darling, Lee Riddle, Edward Vargas, and Richard Kirk are Opt-In

Plaintiffs.

        13.    Defendant tendered to Plaintiffs (except Richard Kirk) 100% of their owed

overtime pay for the first two years of the applicable FLSA limitations period.

        14.    The Parties pursued written discovery and deposition practice on the issue of

willfulness in this case, and they were preparing to brief the issue on summary judgment motions

when the case successfully resolved.

        15.    Under the Settlement Agreements, the Opt-In Plaintiffs will receive 76% of the

wages they are owed for the third year under the limitations period that is in dispute.

        16.    Opt-In Plaintiff Richard Kirk will recover 100% of the liquidated damages he is

owed for the first two years of the limitations period (the other Plaintiffs already recovered these

damages).

        17.    The settlement amount, combined with the earlier tender to Plaintiffs for the first

and second years of the FLSA limitations period, will result in Plaintiffs recovering nearly 80% of

the maximum value of their overtime claim, inclusive of liquidated damages.



                                                 6
  USDC IN/ND case 2:21-cv-00083-PPS document 52-2 filed 02/18/22 page 8 of 8


My Firm’s Lodestar

        18.       The settlement agreements also separately allow for a payment of Plaintiffs

attorneys’ fees and costs, in an amount that is significant reduction of the lodestar accrued thus far

in this matter.

        19.       My firm’s unpaid lodestar in this matter amounted to $110,697.67 as of December

10, 2021. Under the Settlement Agreements, my firm will receive $37,389.81 in fees. This

amounts to a 66% reduction from the total value of the attorney time spent litigating this matter.

Contingent Nature of Action

        20.       My firm employs six lawyers. Because of the size and commitment of this

litigation, my firm expended time on this litigation that could have been spent on other fee-

generating work. And because my firm represented Plaintiffs on a contingency-fee basis, my firm

and co-counsel took the risk of expending substantial time and expenses in litigating this action

without any monetary gain in the event of an adverse judgment.

        I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct.

Executed this February 18, 2022
Chicago, Illinois.




                                                      Douglas M. Werman
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                                                  7
